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                             FOR PUBLICATION

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT


          DANIEL WARMENHOVEN,                            No. 19-16960
                       Plaintiff-Appellant,
                                                            D.C. No.
                              v.                         5:17-cv-02990-
                                                              BLF
          NETAPP, INC.; NETAPP EXECUTIVE
          MEDICAL RETIREMENT PLAN,
                        Defendants-Appellees.               OPINION

                  Appeal from the United States District Court
                      for the Northern District of California
                 Beth Labson Freeman, District Judge, Presiding

                    Argued and Submitted February 10, 2021
                           San Francisco, California

                            Filed September 13, 2021

           Before: Morgan Christen and Bridget S. Bade, Circuit
               Judges, and Gary Feinerman, * District Judge.

                          Opinion by Judge Feinerman




             *
              The Honorable Gary Feinerman, United States District Judge for
         the Northern District of Illinois, sitting by designation.
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                                   SUMMARY **


                                       ERISA

            The panel affirmed in part and vacated in part the district
         court’s summary judgment in favor of defendants on retired
         executives’ claims that termination of the NetApp Executive
         Medical Retirement Plan violated ERISA because they had
         been promised lifetime benefits.

             Only one plaintiff appealed. The panel affirmed the
         district court’s judgment as to plaintiff’s direct claim for
         benefits under 29 U.S.C. § 1132(a)(1)(B). The panel held
         that the default rule under ERISA is that employers may
         freely terminate welfare benefit plans. The panel concluded
         that PowerPoint presentations summarizing the Plan for
         participating executives did not override the default rule,
         where certificates of insurance coverage included provisions
         granting NetApp the authority to terminate benefits under
         the Plan at any time. The panel held that the PowerPoint
         presentations were not Plan documents because they did not
         qualify as written instruments under 29 U.S.C. § 1102(b),
         and they therefore could not vest lifetime benefits.

             The panel vacated the judgment as to plaintiff’s
         alternative claim for equitable relief under 29 U.S.C.
         § 1132(a)(3) and remanded for further proceedings on that
         claim. Plaintiff alleged that, if the Plan did not grant him
         vested lifetime benefits, then NetApp misrepresented the
         nature of the Plan in the PowerPoints, in violation of the
         fiduciary duties it owed as a Plan administrator. The panel
             **
                This summary constitutes no part of the opinion of the court. It
         has been prepared by court staff for the convenience of the reader.
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         held that the district court erred in in granting summary
         judgment on the ground that NetApp did not commit a
         remediable wrong under 29 U.S.C. § 1104(a)(1) by failing
         to discharge its duties with respect to the Plan solely in the
         interest of the participants and beneficiaries. Disagreeing
         with the Seventh Circuit, the panel held that there is no
         intentional deceit requirement under § 1104(a)(1). The
         panel further held that the district court erred in concluding
         that the fiduciary duty claim failed because plaintiff could
         have examined the certificates of insurance to dispel any
         misunderstanding arising from the PowerPoints. The panel
         concluded that plaintiff did not forfeit any argument on the
         remedy prong of his claim for equitable relief, an issue not
         reached by the district court.


                                 COUNSEL

         J. Phillip Martin (argued) and Eric C. Kastner, Kastner Kim
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                                  OPINION

         FEINERMAN, District Judge:

             In 2005, NetApp, Inc. created the NetApp Executive
         Medical Retirement Plan, an employee welfare benefit plan
         governed by the Employee Retirement Income Security Act
         of 1974 (“ERISA”), 29 U.S.C. §§ 1001–1461, to provide
         health insurance benefits to its retired senior executives. In
         2016, NetApp implemented a phased termination of the
         Plan. Daniel Warmenhoven and six other retired executives
         sued NetApp and the Plan (together, “NetApp”), alleging
         that terminating the Plan violated ERISA because they had
         been promised lifetime benefits. The suit asserted two
         distinct ERISA claims: (1) a direct claim for benefits under
         § 1132(a)(1)(B); and (2) an alternate claim for equitable
         relief under § 1132(a)(3) to redress NetApp’s alleged
         misrepresentations that the Plan would provide lifetime
         benefits. The district court granted summary judgment to
         NetApp on both claims.

             Only Warmenhoven appeals. We have jurisdiction
         pursuant to 28 U.S.C. § 1291. We affirm the district court’s
         judgment as to Warmenhoven’s § 1132(a)(1)(B) claim,
         vacate the judgment as to his § 1132(a)(3) claim, and remand
         for further proceedings on the § 1132(a)(3) claim.

                                 Background

         I. The Plan’s Creation and Termination

             Warmenhoven was NetApp’s Chief Executive Officer
         from 1994 to 2009 and, after stepping down as CEO, served
         as Executive Chairman of NetApp’s Board of Directors until
         2014, formally retiring in April 2015. In 2003, at the request
         of another senior NetApp executive, Warmenhoven asked
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         the company’s Human Resources department to explore the
         creation of an executive retiree health plan. After extensive
         consideration, the Board’s Compensation Committee
         adopted the Plan effective May 2005.

             Some ten years later, in November 2015, the
         Compensation Committee decided to close the Plan to any
         new participants and to explore alternatives to the Plan for
         existing participants. At that time, nine executives and
         eighteen dependents were receiving health insurance
         benefits under the Plan. The parties’ dispute over what
         motivated the Compensation Committee’s decision—
         NetApp asserts that the Plan’s increasing costs made the
         benefit unsustainable at a time when it was laying off
         thousands of employees, while Warmenhoven charges that
         NetApp’s rationale was pretextual—is immaterial to this
         appeal.

             In April 2016, the Compensation Committee decided to
         terminate the Plan. Under a new “Amended and Restated
         Plan,” NetApp would reimburse participating retirees like
         Warmenhoven for the cost of purchasing health insurance
         themselves from 2017 through 2019, and then pay them a
         lump sum at the Plan’s termination on December 31, 2019.
         NetApp management met with the retirees to inform them of
         the Amended Plan, and the retirees expressed their
         disapproval. Despite the opposition from retirees, NetApp
         went forward with the Amended Plan, giving formal notice
         to Warmenhoven by letter dated November 16, 2016. The
         Amended Plan took effect on January 1, 2017.

         II. Documentation of the Plan’s Terms

             As discussed below, the default rule under ERISA is that
         employers may freely terminate welfare benefit plans like
         the Plan. See 29 U.S.C. § 1051(1) (exempting welfare
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         benefit plans from ERISA’s vesting provisions).
         Warmenhoven filed this suit on the view that NetApp had
         promised him that the health insurance benefits offered
         under the Plan would last for his lifetime, overriding the
         default rule that welfare benefits do not vest.

             To support his view, Warmenhoven relies primarily on a
         series of PowerPoint presentations that summarized the Plan
         for participating executives. Although at least seven
         versions of the PowerPoint were created over the years,
         Warmenhoven personally saw only two.

             The first was an April 2005 PowerPoint created by
         NetApp Human Resources to describe the Plan to NetApp
         management, including Warmenhoven in his role as CEO.
         The PowerPoint stated that the Plan would provide medical
         coverage to “a defined group of retiring executives as a fully-
         insured plan.” It also stated that any company acquiring
         NetApp would be required to provide an equivalent plan “for
         the lives of the eligible employees.” NetApp does not
         dispute that, as the PowerPoint suggested, it intended as of
         April 2005 to maintain the health insurance benefit for the
         participants’ lifetimes.

             The second version of the PowerPoint that
         Warmenhoven saw was a March 2014 version prepared
         shortly before his retirement. That version stated that the
         “Executive Medical Retirement Plan [was] adopted by
         [NetApp] as a method to retain a defined group of senior
         executives.” In more explicit terms than the April 2005
         version, the March 2014 version promised that the “Plan
         provides medical benefits for the retiree’s lifetime” and that
         “[n]o retiree contributions [are] required.”

              As further support for his view that he had been promised
         lifetime benefits, Warmenhoven points to NetApp’s public
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         disclosures in filings with the Securities and Exchange
         Commission (“SEC”). Like the PowerPoints, NetApp’s
         SEC disclosures stated that the Plan would provide lifetime
         healthcare benefits to participants. For instance, a 2016
         disclosure stated that “[c]overage continues through the
         duration of the lifetime of the retiree or the retiree’s spouse,
         whichever is longer.” The record does not contain evidence
         that Warmenhoven personally reviewed the SEC filings, but
         the filings do show that, as late as April 2016, NetApp was
         telling the public that it intended to cover its retired
         executives’ healthcare for their lifetimes.

             NetApp focuses attention on a third category of
         documents: the certificates of coverage prepared by the
         health insurance companies with which NetApp contracted
         to administer the Plan. NetApp hired Cigna to administer
         the Plan at its inception in 2005. Cigna composed a separate
         certificate for each year it administered the Plan, from 2005
         to 2012.         In 2013, NetApp replaced Cigna with
         UnitedHealthcare (“UHC”), and UHC composed certificates
         for the Plan from 2013 to 2016. As with the April 2005 and
         March 2014 PowerPoints, Warmenhoven personally
         received a copy of the 2015 UHC certificate.

             The certificates of coverage primarily concerned the
         details, which are not pertinent here, of health coverage for
         the calendar year in question. The important provisions for
         present purposes addressed Plan administration: how
         coverage was paid for, who managed the Plan, and who had
         the authority to alter the Plan’s terms. See 29 U.S.C.
         § 1102(b) (requiring that an ERISA plan’s written
         instrument disclose this information). For example, the 2005
         Cigna and 2015 UHC certificates each included a section
         devoted to those disclosures, titled “ERISA Required
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         Information” in the Cigna certificate and “ERISA
         Statement” in the UHC certificate.

             Notably, each certificate of coverage included at least
         one provision granting NetApp the authority to terminate
         benefits under the Plan at any time—directly contradicting
         the PowerPoints’ promises of lifetime benefits. For
         example, the ERISA disclosure in the 2005 Cigna certificate
         stated:

                The Employer as Plan Sponsor reserves the
                right to, at any time, change or terminate
                benefits under the Plan, to change or
                terminate the eligibility of classes of
                employees to be covered by the Plan, to
                amend or eliminate any other plan term or
                condition, and to terminate the whole plan or
                any part of it.

         The 2015 UHC certificate likewise stated: “Your employer,
         as the Plan Sponsor, has the right to amend or terminate this
         Plan at any time.”

         III.   Procedural History

              Warmenhoven and six other retired executives filed this
         lawsuit in May 2017, bringing two claims under ERISA.
         The first claim alleged that the PowerPoints operated to vest
         lifetime benefits and sought recovery of those benefits
         directly under § 1132(a)(1)(B). The second claim, brought
         in the alternative to the first, arose under § 1132(a)(3), which
         allows suits for equitable relief to redress ERISA violations.
         The plaintiffs alleged that, if the Plan did not grant them
         vested lifetime benefits, then NetApp had misrepresented the
         nature of the Plan, in violation of the fiduciary duties it owed
         them as a plan administrator under § 1104(a)(1). Under the
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         second claim, the plaintiffs sought several forms of equitable
         relief: an injunction ordering continued benefits, reformation
         of the plan documents, estoppel, and surcharge.

             After conducting discovery, the parties cross-moved for
         summary judgment. The district court granted NetApp’s
         motion, denied the plaintiffs’ motion, and entered judgment
         for NetApp. Gomo v. NetApp, Inc., No. 17-cv-022990-BLF,
         2019 WL 4346581, at *13 (N.D. Cal. Sept. 12, 2019). As to
         the § 1132(a)(1)(B) claim, the district court held that the
         PowerPoints were not “plan documents,” and therefore that
         their language could not vest lifetime benefits. Id. at *5–6.
         Instead, the court held, the certificates of coverage were the
         controlling plan documents, and they allowed free
         amendment of the Plan. Id. at *7–9. As to the § 1132(a)(3)
         claim, the court held that NetApp had committed no breach
         of fiduciary duty because it had no intent to deceive and
         because the plaintiffs could have examined the certificates
         of coverage to dispel any misunderstanding arising from the
         PowerPoints. Id. at *11–13.

             Six of the seven plaintiffs timely appealed. After a
         mediation conference, we granted the motions of five
         plaintiffs to dismiss their appeals. Warmenhoven, the sole
         remaining appellant, seeks reversal only of the grant of
         summary judgment to NetApp, not the denial of his
         summary judgment motion.

                                  Discussion

         I. Claim for Benefits Under § 1132(a)(1)(B)

             Section 1132(a)(1)(B) “provides a right of action for plan
         participants or beneficiaries ‘to recover benefits due . . .
         under the terms of [a] plan, to enforce [ ] rights under the
         terms of the plan, or to clarify [ ] rights to future benefits
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         under the terms of the plan.’” Doe v. CVS Pharmacy, Inc.,
         982 F.3d 1204, 1213 (9th Cir. 2020) (alterations in original)
         (quoting 29 U.S.C. § 1132(a)(1)(B)), cert. granted, — S. Ct.
         —, 2021 WL 2742790 (July 2, 2021). The plaintiff bears the
         burden of proof on a § 1132(a)(1)(B) claim. See Muniz v.
         Amec Constr. Mgmt., Inc., 623 F.3d 1290, 1294 (9th Cir.
         2010).

              To avoid summary judgment on his § 1132(a)(1)(B)
         claim, Warmenhoven had to present evidence of a specific
         plan document that vested lifetime benefits. The Plan was a
         “welfare plan,” which ERISA defines to include “any plan,
         fund, or program . . . maintained for the purpose of providing
         . . . medical, surgical, or hospital care or benefits.”
         29 U.S.C. § 1002(1). As noted, the default rule under
         ERISA provides that welfare plans do not vest and can be
         amended at any time: “Employers or other plan sponsors are
         generally free under ERISA, for any reason at any time, to
         adopt, modify, or terminate welfare plans.” Curtiss-Wright
         Corp. v. Schoonejongen, 514 U.S. 73, 78 (1995); see
         29 U.S.C. § 1051(1) (providing that ERISA’s vesting
         provisions “apply to any employee benefit plan . . . other
         than . . . an employee welfare benefit plan”). A plan may
         override this default rule, but only if it does so expressly in
         a plan document: “A contractual agreement for vesting of
         benefits must be found in the plan documents.” Cinelli v.
         Sec. Pac. Corp., 61 F.3d 1437, 1441 (9th Cir. 1995); accord,
         e.g., Gable v. Sweetheart Cup Co., 35 F.3d 851, 855 (4th Cir.
         1994) (“[A]ny participant’s right to a fixed level of lifetime
         benefits must be ‘found in the plan documents and must be
         stated in clear and express language.’”) (quoting Wise v. El
         Paso Nat. Gas Co., 986 F.2d 929, 937 (5th Cir. 1993)).

             “Plan document” is a term of art under ERISA. It does
         not mean any writing related to a plan; rather, it means the
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         formal “written instrument” that ERISA requires for each
         employee benefit plan. 29 U.S.C. § 1102(a)(1) (“Every
         employee benefit plan shall be established and maintained
         pursuant to a written instrument.”); see Rhea v. Alan Ritchey,
         Inc. Welfare Benefit Plan, 858 F.3d 340, 344 (5th Cir. 2017)
         (“Courts often refer to written instruments as ‘plan
         documents.’”). To qualify as a written instrument, a
         document must satisfy the four requirements of § 1102(b);
         specifically, the document must “(1) provide a policy and a
         method for funding the plan, (2) describe a procedure for
         plan operation and administration, (3) provide a procedure
         for amending the plan, and (4) specify a basis for payments
         to and from the plan.” Cinelli, 61 F.3d at 1441 (quoting
         Watkins v. Westinghouse Hanford Co., 12 F.3d 1517, 1523
         n.1 (9th Cir. 1993)) (citing 29 U.S.C. § 1102(b)). In a more
         generic sense, the term “plan document” at times is used to
         refer to the summary plan description (“SPD”), a less formal
         document intended to give participants essential information
         about their plan. See 29 U.S.C. §§ 1022, 1024(b) (requiring
         the plan administrator to furnish plan participants and
         beneficiaries with an SPD containing certain categories of
         information); Prichard v. Metro. Life Ins. Co., 783 F.3d
         1166, 1169 (9th Cir. 2015) (“[P]articularly in the context of
         health plans, the SPD is sometimes argued to be the plan;
         that is, to serve simultaneously as the governing plan
         document.”). No party contends that any of the documents
         at issue here functioned as an SPD for the Plan, so there is
         no need to consider how the presence of an SPD among
         those documents would affect the outcome of this appeal.
         To avoid confusion, we will use the term “written
         instrument”—the term used in ERISA—to refer to the
         formal plan document required by § 1102(a)(1). See
         Prichard, 783 F.3d at 1169 (distinguishing the SPD from the
         “formal plan document” required under § 1102(a)(1)).
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              Warmenhoven       submits      that    the    PowerPoint
         presentations were plan documents that could and did vest
         lifetime healthcare benefits. He does not argue, however,
         that the PowerPoints met the criteria for a written instrument
         under § 1102(b). Instead, he argues that NetApp’s promises
         in the PowerPoints created an ERISA plan with lifetime
         benefits. To support that proposition, Warmenhoven relies
         on decisions such as Donovan v. Dillingham, 688 F.2d 1367
         (11th Cir. 1982), Scott v. Gulf Oil Corp., 754 F.2d 1499 (9th
         Cir. 1985), and Golden Gate Restaurant Ass’n v. City and
         County of San Francisco, 546 F.3d 639 (9th Cir. 2008).

             Warmenhoven’s argument is unpersuasive. As we
         explained in Cinelli, the line of cases he invokes governs
         “instances where a formal plan is absent and the question
         remains whether a de facto plan has been created.” 61 F.3d
         at 1443. In Scott, for instance, the plaintiffs alleged that their
         employer made oral and written promises of severance pay.
         754 F.2d at 1501. We concluded that such informal
         commitments to provide benefits could create an ERISA-
         governed plan in circumstances where there is no written
         instrument, lest “employers . . . escape ERISA’s coverage
         merely by failing to comply with its requirements.” Id. at
         1503; see also Donovan, 688 F.2d at 1373 (holding that a
         plan exists, whether “pursuant to a writing or not,” where “a
         reasonable person could ascertain the intended benefits,
         beneficiaries, source of financing, and procedures for
         receiving benefits”). However, in situations where the plan
         sponsor has prepared a written instrument, that line of
         decisions has no application. See Golden Gate Rest. Ass’n,
         546 F.3d at 652 (“All of the cases applying the Donovan
         criteria address the question whether an informal, or de
         facto, ERISA plan has been established, and all involve
         some type of unwritten or informal promise made by an
         employer to its employees.”).
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             Given the limited reach of the decisions he invokes,
         Warmenhoven must be understood as arguing that there was
         no ERISA-compliant written instrument for the Plan, and
         therefore that NetApp should be held to the less formal
         promises it made in the PowerPoints to provide lifetime
         health insurance benefits. Cinelli forecloses that theory by
         holding that only a written instrument satisfying the
         requirements of § 1102(b)—and not some other document—
         can vest lifetime benefits.

             In Cinelli, an insurance policy certificate stated that the
         policy was terminable at any time, but a company board
         resolution stated that the benefit was fully vested. 61 F.3d
         at 1440–41. We noted that it was “clear that an insurance
         policy may constitute the ‘written instrument’ of an ERISA
         plan,” and asked whether the board resolution was “also a
         plan document.” Id. at 1441. We held that the board
         resolution was “not a plan document” because it did not meet
         the criteria for a written instrument set forth in § 1102(b).
         Id. at 1441–42, 1444. And because the resolution was not a
         written instrument, it was “extrinsic evidence” that could
         “not be used to alter the written terms of the plan,” which
         provided that the life insurance benefit was terminable at any
         time. Id. at 1444.

             The upshot of Cinelli is that only a written instrument
         satisfying the § 1102(b) criteria can vest lifetime benefits.
         And we have since reaffirmed Cinelli’s teaching that the
         § 1102(b) criteria, and only those criteria, govern which
         writings qualify as written instruments. See Mull ex rel. Mull
         v. Motion Picture Indus. Health Plan, 865 F.3d 1207, 1209
         (9th Cir. 2017) (examining the § 1102(b) criteria to
         determine which documents were the written instrument);
         accord, e.g., Rhea, 858 F.3d at 344 (holding that an SPD can
         qualify as a written instrument if it meets the § 1102(b)
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         criteria); Gable, 35 F.3d at 857 (applying § 1102(b) in
         holding that a schedule promising lifetime benefits was not
         a written instrument).

             Ignoring these precedents, Warmenhoven does not argue
         that the PowerPoints met the four requirements for “plan
         documents” under § 1102(b). Indeed, he argues that the
         district court “fundamentally misconstrued ERISA’s
         governing principles” in “relying on . . . § 1102(b)” to
         determine whether the PowerPoints were plan documents.
         As we have explained, the district court correctly looked to
         § 1102(b) to determine whether the PowerPoints were
         written instruments and thus whether they could vest lifetime
         benefits. By deliberately choosing to stand on his flawed
         argument that the PowerPoints created a vested ERISA plan
         without there being any written instrument, and by declining
         to argue in the alternative that he could prevail even if
         § 1102(b) applied, Warmenhoven has affirmatively waived
         any argument under the proper legal standard that the
         PowerPoints were written instruments. See Freedom From
         Religion Found., Inc. v. Chino Valley Unified Sch. Dist. Bd.
         of Educ., 896 F.3d 1132, 1152 (9th Cir. 2018) (per curiam)
         (“It is well established that an appellant’s failure to argue an
         issue in the opening brief, much less on appeal more
         generally, waives that issue . . . .”); Alvarez v. Lopez,
         835 F.3d 1024, 1028 (9th Cir. 2016) (finding an “intentional
         waiver” where the appellant “deliberately steered” the court
         away from an issue, thereby “preclud[ing] us from raising
         [the issue] sua sponte”). That waiver conclusively defeats
         his § 1132(a)(1)(B) claim because, under Cinelli, he bears
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         the burden to prove that a specific written instrument vested
         lifetime benefits. 1

         II. Claim for Breach of Fiduciary Duty Under
             § 1132(a)(3)

             Warmenhoven’s second claim alleges in the alternative
         that, if the PowerPoint presentations did not vest lifetime
         benefits, he is entitled under § 1132(a)(3) to equitable relief
         to remedy NetApp’s misrepresentations that the Plan’s
         health benefits were permanent.          Section 1132(a)(3)
         provides:

                  A civil action may be brought . . . (3) by a
                  participant . . . (B) to obtain other appropriate
             1
                Warmenhoven does not raise, and therefore has forfeited, any
         argument that the PowerPoint presentations and the certificates of
         coverage combined to form a written instrument under § 1102. See
         Maloney v. T3Media, Inc., 853 F.3d 1004, 1019 (9th Cir. 2017) (holding
         that arguments that are not presented in appellate briefs are forfeited).
         We addressed a somewhat analogous argument in Mull. There,
         participants in a health care plan sought a declaration that the plan could
         not enforce against them recoupment provisions found only in the SPD
         but not in the plan’s trust agreement. 865 F.3d at 1209. We held that
         because the trust agreement met only three of the four § 1102(b) criteria,
         it could not qualify on its own as the plan’s written instrument. Id. But
         because the SPD met the remaining criterion, we held that “the two
         documents together constitute[d] a plan,” id. at 1209–10, and therefore
         that the SPD’s recoupment provisions were enforceable, id. at 1210–11.
         Here, even if Warmenhoven had made an argument based on Mull, it
         would have failed on the merits because the district court correctly held
         that the certificates of coverage—which, as noted, expressly stated that
         the Plan could be terminated at any time—by themselves qualified as the
         Plan’s written instrument under § 1102. See Prichard, 783 F.3d at 1171
         (holding that an insurance certificate was a plan’s written instrument).
         Accordingly, there was no gap for the PowerPoint presentations to fill,
         meaning that the PowerPoints did not form part of a written instrument
         that could vest lifetime benefits.
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                 equitable relief (i) to redress [any act or
                 practice which violates any provision of Title
                 I of ERISA or the terms of the plan] or (ii) to
                 enforce any provisions of [Title I] or the
                 terms of the plan.

         29 U.S.C. § 1132(a)(3). A § 1132(a)(3) claim has two
         elements: “(1) that there is a remediable wrong, i.e., that the
         plaintiff seeks relief to redress a violation of ERISA or the
         terms of a plan; and (2) that the relief sought is appropriate
         equitable relief.” Gabriel v. Alaska Elec. Pension Fund,
         773 F.3d 945, 954 (9th Cir. 2014) (internal quotation marks
         and citations omitted). The district court limited its analysis
         to the first prong, granting NetApp summary judgment on
         the ground that no reasonable factfinder could find that
         NetApp committed a remediable wrong. 2019 WL 4346581,
         at *11–13. We disagree with the district court’s conclusion
         on that issue and therefore vacate its grant of summary
         judgment to NetApp.

              A. Remediable Wrong

             Warmenhoven’s theory of remediable wrong is that
         NetApp, a plan fiduciary, misrepresented the Plan’s terms by
         promising in the PowerPoints that the Plan provided lifetime
         benefits even though the written instrument included no such
         guarantee. Warmenhoven argues that NetApp thus violated
         § 1104(a)(1), which provides that “a fiduciary shall
         discharge his duties with respect to a plan solely in the
         interest of the participants and beneficiaries . . . .” 29 U.S.C.
         § 1104(a)(1).

            As we have held, “fiduciaries breach their duties if they
         mislead plan participants or misrepresent the terms or
         administration of a plan.” Barker v. Am. Mobil Power Corp.,
         64 F.3d 1397, 1403 (9th Cir. 1995) (per curiam). For
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         example, in Varity Corp. v. Howe, 516 U.S. 489 (1996), a
         corporation spun off failing divisions into a new company
         and, despite knowing that the new company would likely
         fail, induced employees to transfer their benefits to the new
         company through false promises that the benefits would
         remain secure. Id. at 493–94. The Supreme Court held that
         the corporation’s conduct violated its fiduciary duties as a
         plan fiduciary, reasoning that “[t]o participate knowingly
         and significantly in deceiving a plan’s beneficiaries in order
         to save the employer money at the beneficiaries’ expense is
         not to act ‘solely in the interest of the participants and
         beneficiaries.’” Id. at 506 (quoting 29 U.S.C. § 1104(a)(1)).

             In Varity, unlike here, the plan fiduciary intended to
         mislead plan participants to the fiduciary’s benefit and the
         participants’ detriment. That distinction grounded the
         district court’s holding here that NetApp had committed no
         remediable wrong: “An employer’s honest statements of
         present intention to provide benefits at a particular level do
         not give rise to liability for breach of fiduciary duties, simply
         because the employer later changes the benefits.” Gomo,
         2019 WL 4346581, at *12.

             To support its holding, the district court relied heavily on
         Frahm v. Equitable Life Assurance Society of the United
         States, 137 F.3d 955, 960 (7th Cir. 1998), which held that
         Varity recognizes a § 1104(a)(1) fiduciary duty claim only
         in cases involving intentional deceit. The defendant in
         Frahm changed its retiree health plan to require retirees to
         bear more costs, and the retirees argued that the company
         had previously promised in oral statements and letters not to
         do so. Id. at 956–57. The Seventh Circuit held that such
         informal promises could not give rise to liability under
         § 1104(a)(1) unless the fiduciary “set out to deceive or
         disadvantage plan participants.” Id. at 960. In so holding,
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         the Seventh Circuit relied on an analogy to tort law, noting
         that an estoppel defense or fraud claim requires “lies” where
         the speaker “actually had a different intention” than
         expressed. Id. at 961.

              Our circuit’s law holds otherwise. As a general matter,
         we have rejected the use of tort law to ground the § 1104(a)
         fiduciary duty, reasoning that the duty finds its roots in trust
         law, not tort law. See King v. Blue Cross & Blue Shield of
         Ill., 871 F.3d 730, 744 (9th Cir. 2017) (“The duty of loyalty
         is one of the common law trust principles that apply to
         ERISA fiduciaries, and it encompasses a duty to disclose.”
         (quoting Washington v. Bert Bell/Pete Rozelle NFL Ret.
         Plan, 504 F.3d 818, 823 (9th Cir. 2007))); Mathews v.
         Chevron Corp., 362 F.3d 1172, 1183 (9th Cir. 2004) (“We
         fail to see the logic in transplanting the element of scienter
         from the tort of deceit into a statutory ERISA claim with
         roots in the law of fiduciaries and trusts.”). Our approach
         aligns with the Supreme Court’s understanding of ERISA
         fiduciary duties. See Varity, 516 U.S. at 496 (“[W]e
         recognize that [ERISA’s] fiduciary duties draw much of
         their content from the common law of trusts, the law that
         governed most benefit plans before ERISA’s enactment.”).

              More to the point, we expressly rejected in Mathews the
         analogy to fraud that the Seventh Circuit found compelling
         in Frahm. The employer in Mathews argued that “the
         plaintiffs must show scienter as they would if they were
         suing under the common law cause of action for deceit,” that
         is, “knowledge or belief on the part of the defendant that the
         representation is false.” 362 F.3d at 1183 (alteration
         omitted). Such evidence of knowing deceit is what the
         district court demanded of Warmenhoven here: “Plaintiffs
         have not submitted any evidence, and none appears in the
         record, suggesting that NetApp did not intend to provide
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         lifetime medical benefits under the Plan when it was
         adopted.” Gomo, 2019 WL 4346581, at *12. Yet, as we
         explained in Mathews, “[i]n articulating Ninth Circuit law in
         this area, we have followed a line of cases from our sister
         circuits that does not require a showing of intent.” 362 F.3d
         at 1183.

             In James v. Pirelli Armstrong Tire Corp., 305 F.3d 439
         (6th Cir. 2002), one of the out-of-circuit cases we approved
         in Mathews, company management made repeated oral
         promises that, if employees took early retirement, their
         health benefits would continue unchanged “during
         retirement” and “during their lifetimes.” Id. at 443–44. But
         in fact, the plan documents allowed amendments to the
         health benefit plan, and, after the plaintiff employees retired,
         the company raised the costs to them of securing health
         benefits. Id. at 442, 444–45. The Sixth Circuit held that the
         company thereby breached its fiduciary duty under
         § 1104(a)(1). Id. at 448, 455. In so holding, the court
         rejected any scienter requirement: “A fiduciary breaches his
         duty by providing plan participants with materially
         misleading information, regardless of whether the
         fiduciary’s statements or omissions were made negligently
         or intentionally.” Id. at 449 (quotation marks omitted). And
         the court held that the company breached its fiduciary duty
         by “provid[ing], on its own initiative, materially misleading
         and inaccurate information about the plan benefits.” Id.
         at 455.

             Returning to our precedents, the health care plan in King
         denied coverage for a substantial medical bill on the ground
         that the participant had reached her lifetime cap on benefits.
         871 F.3d at 737–38. We held that the participant had a viable
         fiduciary duty claim, explaining that although the plan
         documents could be interpreted to impose a lifetime benefit
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         cap, id. at 734–36, the documents’ lack of clarity on that
         point violated the employer’s and the plan’s fiduciary duties
         of disclosure, id. at 745. In support, we observed that
         “[f]iduciaries breach their duties [under § 1104(a)] if they
         mislead plan participants or misrepresent the terms or
         administration of a plan,” id. at 744 (quoting Barker, 64 F.3d
         at 1403), and that the employer and the plan had failed “to
         ‘provide sufficiently detailed information’ about whether the
         lifetime benefit maximum applied,” id. at 745 (quoting Farr
         v. U.S. W. Commc’ns, Inc., 151 F.3d 908, 915 (9th Cir.
         1998)). Nowhere did King suggest that the defendants
         harbored an intent to deceive plan participants or that such
         intent was required to find a breach of fiduciary duty.

             Under our circuit’s precedents, then, Warmenhoven’s
         fiduciary duty claim survives summary judgment on the
         remediable wrong issue, as there is a genuine dispute of
         material fact as to whether NetApp incorrectly represented
         to Plan participants that the Plan provided lifetime health
         insurance benefits. A reasonable factfinder easily could read
         the PowerPoints to convey a promise of lifetime benefits.
         Yet NetApp had not memorialized that promise in any plan
         document, and in fact the certificates of coverage said the
         opposite. Our circuit law does not immunize NetApp from
         liability for its false promises simply because it harbored no
         ill will or intent to deceive. A reasonable factfinder could
         conclude that NetApp failed “to convey complete and
         accurate information material to [Warmenhoven’s]
         circumstance,” Barker, 64 F.3d at 1403, and thus find a
         violation of § 1104(a)(1) and a remediable wrong under
         § 1132(a)(3).

             The district court also held that Warmenhoven’s
         fiduciary duty claim failed because he could have examined
         the certificates of coverage—which provided that the Plan
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         could be terminated at any time—to dispel any
         misunderstanding arising from the PowerPoints. In Pirelli,
         the Sixth Circuit rejected the notion that “a reservation of
         rights provision in the plan” automatically insulates the
         employer from liability under § 1104(a)(1) if the employer
         provides “false or inaccurate information about the future
         benefits of a plan.” 305 F.3d at 455.

             The district court read our decision in Pisciotta v.
         Teledyne Industries, Inc., 91 F.3d 1326 (9th Cir. 1996), to
         hold otherwise, citing it for the proposition that “a
         reservation of rights contained in the Plan document is
         effective if the document was available for review.” Gomo,
         2019 WL 4346581, at *12 (citing Pisciotta, 91 F.3d at 1331).
         But Pisciotta did not so hold as to a fiduciary duty claim
         under § 1132(a)(3), as we addressed in that case only a direct
         claim for benefits under § 1132(a)(1)(B). 91 F.3d at 1329–
         31. In fact, when the plaintiffs in Pisciotta filed suit, our pre-
         Varity circuit precedent did not permit § 1132(a)(3) claims
         for individual relief by participants harmed by alleged
         breaches of fiduciary duty. See Williams v. Caterpillar, Inc.,
         944 F.2d 658, 665 (9th Cir. 1991) (holding that “a
         fiduciary’s duty under ERISA runs to the plan as a whole
         and not to the individual beneficiary”), abrogated in part by
         Varity, 516 U.S. 489.

             In sum, that NetApp lacked an intent to deceive and that
         Warmenhoven could have reviewed the certificates of
         coverage do not necessarily defeat his § 1132(a)(3) claim
         based on NetApp’s misrepresentations in the PowerPoints.
         To be clear, we do not pronounce on the ultimate question of
         whether Warmenhoven will succeed, as certain aspects of
         that claim may remain unresolved. On remand, NetApp may
         press that issue or any other non-waived defenses it might
         have, and we do not prejudge the result.
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              B. Appropriate Equitable Relief

             After holding that no reasonable factfinder could
         conclude that Warmenhoven suffered a remediable wrong,
         the district court declined to address whether he would be
         entitled to appropriate equitable relief to redress any such
         wrong. 2019 WL 4346581, at *13. Warmenhoven’s initial
         brief does not address the remedy prong, either. NetApp
         argues that Warmenhoven thereby forfeited any argument
         that the district court’s treatment of the remediable wrong
         prong prejudiced him, requiring that summary judgment on
         the § 1132(a)(3) claim be affirmed.

              We rejected a materially identical argument in Rodriguez
         v. Hayes, 591 F.3d 1105 (9th Cir. 2010), and do so again
         here. The appellees in Rodriguez argued for affirmance of
         the district court’s judgment on a ground not reached by the
         district court and contended that the appellant had waived
         any opposition to that argument by not anticipating it in his
         initial brief. Id. at 1118 & n.6. We disposed of the appellees’
         “groundless” contention in a footnote:

                 We have previously held that the failure of a
                 party in its opening brief to challenge an
                 alternate ground for a district court’s ruling
                 given by the district court waives that
                 challenge. . . . Petitioner does not waive a
                 challenge to any ground for [the district
                 court’s ruling] in its opening brief on appeal
                 that was not relied on in the district court’s
                 order.

         Id. at 1118 n.6. NetApp is thus wrong to suggest that an
         appellant must address all possible alternate grounds for
         affirmance—even those not ruled upon by the district
         court—in an opening brief.
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             Beyond forfeiture, the parties do not discuss the merits
         of the remedy prong. In CIGNA Corp. v. Amara, 563 U.S.
         421 (2011), the Supreme Court identified three traditional
         equitable remedies available under § 1132(a)(3):
         reformation, equitable estoppel, and surcharge. Id. at 440–
         42. Especially because the parties do not address the issue
         on appeal, the proper course is to allow the district court to
         consider in the first instance the merits of NetApp’s
         argument for summary judgment based on the remedy
         prong. See ASSE Int’l, Inc. v. Kerry, 803 F.3d 1059, 1079
         (9th Cir. 2015) (“[T]he issue . . . was not fully briefed, and
         as it also has not been passed upon in the first instance by
         the district court, we decline to reach the issue.”);
         Reinkemeyer v. SAFECO Ins. Co. of Am., 166 F.3d 982, 985
         (9th Cir. 1999) (“We decline to address the issue because it
         was not reached by the district court and was not fully
         briefed by the parties.”).

                                 Conclusion

            The district court’s judgment is AFFIRMED IN PART
         as to Warmenhoven’s § 1132(a)(1)(B) claim, and
         VACATED IN PART as to his § 1132(a)(3) claim. The
         case is REMANDED to the district court for further
         proceedings consistent with this opinion.
